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11 Attorneys for United States of America

12                                UNITED STATES DISTRICT COURT

13                              NORTHERN DISTRICT OF CALIFORNIA

14                                      SAN FRANCISCO DIVISION

15   UNITED STATES OF AMERICA,                           Criminal No. 3:21-CR-00155-JD

16           Plaintiff,                                  UNITED STATES’ MOTION IN LIMINE
                                                         REGARDING DEFENDANT’S STATEMENTS
17
                           v.                            Pretrial Conf.:    November 21, 2022
18                                                       Time:              1:30 p.m.
     CARLOS E. KEPKE,                                    Place:             Courtroom 11, 19th Floor
19
             Defendant.
20

21          The United States of America (“United States”) hereby respectfully moves the Court, pursuant to
22 Fed. R. Evid. 801(d)(2)(A), for an Order admitting the oral and written statements of Defendant Carlos

23 Kepke, and also statements and questions made and posed to Defendant, as well as an Order prohibiting

24 the defense from introducing statements of Defendant through any means other than direct testimony,

25 and states as follows in support:

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     UNITED STATES’ MOTION IN LIMINE                1
     REGARDING DEFENDANT’S STATEMENTS
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 1 I.       Defendant’s Statements Are Admissible If Offered By The United
            States Under Rule 801(d)(2)(A).
 2
            The United States intends to offer written and oral statements made by Defendant during its
 3
     case-in-chief pursuant to Fed. R. Evid. 801(d)(2)(A). Such statements will include Defendant’s oral
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     statements to Email Arguelles, Glen Godfrey, Robert Smith, Robyn Neal, and an Undercover Agent.
 5
     They will also include Defendant’s written statements, including emails, letters, faxes, legal documents,
 6
     tax returns, and other writings, all of which have been produced and disclosed to Defendant. As party
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     admissions in a criminal case, such statements are not hearsay and are squarely admissible, if offered by
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     the United States, pursuant to Rule 801(d)(2)(A). See United States v. Matlock, 415 U.S. 164, 172
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     (1972); People of Territory of Guam v. Ojeda, 758 F.2d 403, 408 (9th Cir. 1985). The United States
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     also expects to offer statements made to Defendants, including questions, as part of the interactions
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     described above, in its case-in-chief. Hearsay is defined as an out-of-court statement “offer[ed] in
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     evidence to prove the truth of the matter asserted in the statement.” Fed. R. Evid. 801(c)(2). Statements
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     that are not offered for the truth of the matter asserted, such as verbal acts, statements offered for their
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     effect on the listener/reader, or statements to explain subsequent actions are admissible. See, e.g., L.A.
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     News Serv. v. CBS Broad., Inc., 305 F.3d 924, 935-36, amended by 313 F.3d 1093 (9th Cir. 2002);
16
     United States v. Lim, 984 F.2d 331, 336 (9th Cir. 1993) (verbal acts to show conspiratorial agreement);
17
     United States v. Payne, 944 F.2d 1458, 1472 (9th Cir. 1991) (effect on listener); United States v.
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     Cawley, 630 F.2d 1345, 1349-50 (9th Cir. 1980) (subsequent actions). Because the United States
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     intends to introduce statements made to Defendant, including questions, to provide context for
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     Defendant’s answers and other reactions to the statements and questions, they are admissible for the
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     purpose of establishing the “effect on listener” and the Defendant’s state of mind, and thus are not
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     hearsay. See United States v. Herrera, 600 F.2d 502, 504 (5th Cir. 1979) (district court’s exclusion of
23
     the content of a threatening phone conversation as hearsay was improper because the conversation was
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     “not offered to prove that [the caller] would actually carry through the threats, but rather to show [the
25
     defendant’s] state of mind in consequence of the statements”); United States v. Wright, 783 F.2d 1091,
26
     1098 (D.C. Cir. 1986). The United States does not oppose a limiting instruction to the jury consistent
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     with the purpose of its offering of these statements made to Defendant, including questions.
28

      UNITED STATES’ MOTION IN LIMINE                   2
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 1 II.      Defendant’s Statements Are Not Admissible If Offered By Defendant

 2          The defense should be precluded from introducing written or oral statements of Defendant

 3 through any means other than direct testimony. Defendant’s statements are inadmissible hearsay if

 4 offered by the defense – under Rule 801(d)(2)(A), prior statements made by a criminal defendant are

 5 non-hearsay only if offered against the defendant by the government. A defendant may not offer his

 6 own prior statements without testifying, even where the government introduces incriminating portions of

 7 them. See, e.g., United States v. Nakai, 413 F.3d 1019, 1022 (9th Cir. 2005) (defendant’s exculpatory

 8 statements inadmissible hearsay when defense sought to introduce after FBI agent testified about

 9 defendant’s inculpatory statements); United States v. Ortega, 203 F.3d 675, 682 (9th Cir. 2000) (non-

10 self-inculpatory statements, even if made contemporaneously with other self-inculpatory statements, are

11 inadmissible hearsay; rule of completeness does not allow for admission of inadmissible hearsay);

12 United States v. Fernandez, 839 F.2d 639, 640 (9th Cir. 1988) (district court properly sustained

13 government’s hearsay objection to defendant’s attempt to solicit defendant’s post-arrest statements

14 during cross-examination of FBI agent). The Defendants cannot offer their own out-of-court statements

15 at trial. Any attempt by a defendant to place his or her recorded statements “before the jury without

16 subjecting [himself] to cross-examination [is] precisely what the hearsay rule forbids.” Id.

17          Defendant should not be permitted to circumvent this rule by using other witnesses, including

18 expert witnesses, as conduits. While experts may be permitted to rely on hearsay under Fed. R. Evid.

19 703, courts are properly reluctant to allow criminal defendants to put their own hearsay statements

20 before the jury (without taking the stand themselves) through expert testimony. See, e.g., United States

21 v. Shafi, 15-cr-00582-WHO, 2018 WL 3159769, at * 5 (N.D. Cal. June 28, 2018) (“My concern is that

22 [expert] wants to tell the jury what [defendant] has told him about his motives and beliefs. An expert

23 may not serve ‘simply as a conduit for introducing hearsay under the guise that the testifying expert used

24 the hearsay as the basis of his testimony.’ Owens v. Republic of Sudan, 864 F.3d 751, 789 (D.C. Cir.

25 2017) (internal quotations omitted); see Fed. R. Evid. 703. An expert is also specifically, by rule,

26 excluded from testifying about the mental state of a defendant. Fed. R. Evid 704(b). Testimony about

27 Defendant’s statements, through an expert’s “opinion” testimony, would be a transparent attempt to

28 circumvent Rules 704(b) and 801(d)(2)(A). There would be no effective way to cross-examine [expert]

      UNITED STATES’ MOTION IN LIMINE                3
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 1 on these conversations and his resulting opinion, and no way to rebut it if [defendant] invokes his

 2 constitutional right not to testify. For this reason, mental state testimony on [defendant’s] actual

 3 opinions and conduct is inadmissible if it is based on conversations that [expert] had with [defendant].”).

 4

 5 Respectfully submitted,                                       STEPHANIE M. HINDS
                                                                 United States Attorney
 6
                                                                 s/ Michael G. Pitman
 7                                                               COREY J. SMITH
 8                                                               Senior Litigation Counsel
                                                                 MICHAEL G. PITMAN
 9                                                               Assistant United States Attorney
                                                                 BORIS BOURGE
10                                                               Trial Attorney
                                                                 Tax Division
11

12                                                               Attorneys for United States of America

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     UNITED STATES’ MOTION IN LIMINE                  4
     REGARDING DEFENDANT’S STATEMENTS
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 1                                      CERTIFICATE OF SERVICE

 2

 3          I the undersigned do hereby certify that on the 7th of November 2022, I electronically filed the

 4 foregoing Government’s Motion In Limine to Regarding Statements of Defendant under Fed. R. Evid.

 5 801(d)(2)(A) with the ECF electronic filing system, which will send notice of electronic filing to counsel

 6 of record.

 7

 8                                                               /s/Corey J. Smith
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 9                                                               Department of Justice
                                                                 Tax Division
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     UNITED STATES’ MOTION IN LIMINE                 5
     REGARDING DEFENDANT’S STATEMENTS
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